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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO

  -------------------------------------------------------------x
  In re:                                                           PROMESA
                                                                   Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,
                                                                   No. 17 BK 3283-LTS
            as representative of
                                                                   (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et al.

                                    Debtors.1
  -------------------------------------------------------------x


                                      CERTIFICATE OF SERVICE

        I, Kelsey Gordon, depose and say that I am employed by Prime Clerk LLC (“Prime
 Clerk”), the solicitation, claims and noticing agent for the Debtors in the above-captioned cases
 under Title III of the Puerto Rico Oversight, Management, and Economic Stability Act
 (PROMESA).

         On September 10, 2019, at my direction and under my supervision, employees of Prime
 Clerk caused the following documents to be served by the method set forth on the Master Service
 List attached hereto as Exhibit A:

     •     Notice of Amended Agenda of Matters Scheduled for the Hearing on September 11-12,
           2019 at 9:30 a.m. (AST) [Docket No. 8673] the “Amended Agenda”

     •     Amended Informative Motion of Financial Oversight and Management Board Regarding
           September 11-12, 2019 Omnibus Hearing [Docket No. 8674]


 The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and the
 last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
 Commonwealth of Puerto Rico (Bankruptcy Case No. 17 BK 3283-LTS) (Last Four Digits of Federal
 Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation (“COFINA”) (Bankruptcy Case No.
 17 BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474); (iii) Puerto Rico Highways and
 Transportation Authority (“HTA”) (Bankruptcy Case No. 17 BK 3567-LTS) (Last Four Digits of
 Federal Tax ID: 3808); (iv) Employees Retirement System of the Government of the Commonwealth
 of Puerto Rico (“ERS”) (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID:
 9686); and (v) Puerto Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-
 LTS) (Last Four Digits of Federal Tax ID: 3747) (Title III case numbers are listed as Bankruptcy Case
 numbers due to software limitations).
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                                                                                                                                  Master Service List
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Joseph Negrón Vázquez, and the Succession of Armando Negrón
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and Alondra Janisse Negrón Santana, Rey Reyes Reyes, Ruth Rosado
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                                   Exhibit B
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                                                                                                            Exhibit B
                                                                                                     Agenda Repondents
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